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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

CICHOWSKI FAMILY, Kevin Cichowski,          Case No.: 3:22-CV-599-TJC-PDB
Christine Cichowski, Stanley Cichowski, and
Christine v. Cichowski                      DISPOSITIVE MOTION

       Plaintiffs,

v.

CVS PHARMACY, INC.,

      Defendant.


        DEFENDANT'S MOTION FOR JUDGMENT ON PLEADINGS

      PURSUANT to Fed. R. Civ. P. 12(c), Defendant, CVS Pharmacy, Inc. ("CVS")

moves this Court for an Order granting judgment on the pleadings in its favor, and in

support thereof states:

I.    INTRODUCTION

      In their latest affirmative pleading, Plaintiffs allege that CVS is liable to them on

a theory of negligence. See Amended Complaint (the "Complaint") [Doc. 50].

Defendant has filed its Answer and Affirmative Defenses to the Complaint (the

"Answer") [Doc. 51]. Upon these pleadings, the Court should enter judgment as a matter

of law in favor of CVS for several independent reasons, each of which would warrant

dismissal for failure to state a claim under Rule 12(b)(6): (1) first, the Complaint seeks

to hold CVS liable in negligence for the conduct of a third party, Mr. Kes. See Complaint,
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¶ III. However, no special relationship is alleged or could be alleged which would create

any duty on the part of CVS to control the conduct of Mr. Kes; (2) second, Plaintiffs

have not alleged and cannot prove that any injury they allegedly suffered was the

proximate result of any act or omission by CVS based on the allegations in the Amended

Complaint. In addition, as set forth in the Third Affirmative Defense, the inability of

Plaintiffs to allege or establish this crucial element of causation is dispositive in CVS's

favor. Based only on the Complaint, it is clear that Plaintiffs cannot establish this

element on the facts of this case; (3) third, to the extent that Plaintiffs are proceeding

against CVS on a vicarious liability theory, the Complaint also concedes that Mr. Kes'

alleged misconduct—which purportedly underpins Plaintiffs' claim—took place entirely

outside the scope of Mr. Kes' employment with CVS, thereby extinguishing any basis

for holding CVS vicariously liable for that conduct; and (4) fourth, the Complaint asserts

that Plaintiffs sustained only emotional distress as a result of CVS's alleged negligence,

described in the Complaint as "traumatic emotional trauma". See Complaint, ¶ III. The

"impact rule"—which is pled in the Second Affirmative Defense—bars any recovery of

damages for emotional distress where, as here, the alleged emotional distress is

unconnected to any physical impact or injury. This result follows notwithstanding

Plaintiffs' bare assertion that CVS was in fact grossly negligent. See Complaint, ¶ III.

II.   PROCEDURAL AND FACTUAL HISTORY

      Plaintiffs' original Complaint [Doc. 1] was dismissed upon CVS's Motion ("First

Dismissal Motion") [Doc. 9] per this Court's August 31, 2022 Order [Doc. 23], which

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directed Plaintiffs to amend their Complaint so as to correct the numerous issues raised

in the First Dismissal Motion. The First Amended Complaint [Doc. 24] was timely filed

on September 19, 2022 and alleged a panoply of unfounded causes of action against

CVS, including negligence and violations of the Fifth Amendment to the United States

Constitution, the Fair Debt Collection Practices Act, and the Health Insurance Portability

and Accountability Act. CVS filed a motion to dismiss this Second Amended Complaint

on October 13, 2022 ("Second Dismissal Motion") [Doc. 25]. During the pendency of

the Second Dismissal Motion, this Court ruled upon several additional interim motions

and held a status conference on May 30, 2023. On June 5, 2023 and by means of oral

motion [Doc. 46], Plaintiffs sought leave of this Court to file an additional amendment

to their Complaint. This Court granted the requested leave in its Order dated June 8,

2023 [Doc. 49], and Plaintiffs filed the instant Second Amended Complaint on June 15,

2023 [Doc. 50]. CVS filed its Answer and Affirmative Defenses to the Second Amended

Complaint on June 29, 2023 [Doc. 51].

       Now that CVS has filed its Answer and Affirmative Defenses, it is clear that the

Court should enter judgment as a matter of law in favor of CVS.

III.   LEGAL STANDARD

       A.    JUDGMENT ON THE PLEADINGS

       Federal Rule of Civil Procedure 12(c) provides that, "[a]fter the pleadings are

closed—but early enough not to delay trial—a party may move for judgment on the

pleadings." Fed. R. Civ. P. 12(c). The pleadings in this case are closed: Plaintiffs filed

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the Complaint; CVS filed its Answer; and no counterclaims, crossclaims, or third-party

complaints have been filed. See Perez v. Wells Fargo N.A., 774 F.3d 1329, 1336 (11th

Cir. 2014) (discussing closing of pleadings under Fed. R. Civ. P. 7(a)); see also Fed. R.

Civ. P. 7(a) (listing permissible pleadings). Accordingly, a motion pursuant to Rule

12(c) is currently timely and proper. Several relevant considerations are outlined below:

      The standard under Rule 12(c) mirrors that under Rule 12(b)(6). "A motion for

judgment on the pleadings pursuant to Federal Rule of Civil Procedure 12(c) is subject

to the same standard as a Rule 12(b)(6) motion to dismiss." U.S. v. Wood, 925 F.2d 1580,

1581 (11th Cir. 1991). See also Hawthorne v. Mac Adjustment, Inc., 140 F.3d 1367, 1370

(11th Cir. 1998) (applying the Rule 12(b)(6) standard to motions filed pursuant to Rule

12(c)); Carbone v. Cable News Network, Inc., 910 F.3d 1345, 1350 (11th Cir. 2018) ("A

motion for judgment on the pleadings is governed by the same standard as a motion to

dismiss under Rule 12(b)(6)."). Thus, to survive a motion for judgment on the pleadings,

the complaint must contain enough facts to state a claim for relief that is plausible on its

face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007)). A claim is plausible on its face if the complaint alleges enough

facts to "allow the court to draw the reasonable inference that the defendant is liable for

the misconduct alleged." Iqbal, 556 U.S. at 678. A complaint must plead "enough fact[s]

to raise a reasonable expectation that discovery will reveal evidence" of the defendant's

liability. Twombly, 550 U.S. at 556.



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      The Court need not and should not assume the truth of conclusory allegations or

denials as to legal conclusions. While "all well pleaded facts are accepted as true, and

the reasonable inferences therefrom are construed in the light most favorable to the

plaintiff," Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1273, n.1 (11th Cir. 1999) (citing

Hawthorne, 140 F.3d 1367, 1370), the same liberal reading does not apply to legal

conclusions. Iqbal, 556 U.S. at 678 ("the tenet that a court must accept as true all of the

allegations contained in a complaint is inapplicable to legal conclusions."). In fact, the

court should disregard averments and need not accept the non-moving party's

conclusions as true, only its well-pleaded facts; in other words, conclusory denials and

legal conclusions do not create issues of material fact. Oriental Republic of Uru. v. Italba

Corp., 606 F.Supp.3d 1250, 1260 (S.D. Fla. 2022). "[A] plaintiff armed with nothing

more than conclusions" cannot "unlock the doors of discovery." Iqbal, 556 U.S. at 678-

79.

      The Complaint's exhibits may be considered since they are central to the claims

and their authenticity is not in dispute. A court may also properly consider documents

attached to the complaint so long as they are: (1) central to the plaintiff's claim; and (2)

undisputed. See Horsley v. Feldt, 304 F.3d 1125, 1134 (11th Cir. 2002)); accord Oriental

Republic, 606 F. Supp. 3d at 1259. Otherwise, the court is precluded from relying on

matters outside the pleadings. Urribari v. 52 SW 5th CT WHSE, LLC, 266 So. 3d 1257,

1262 (Fla. 4th DCA 2019).



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      B.        LAW OF NEGLIGENCE

      Under the common law of the State of Florida, a claim of negligence requires a

plaintiff to plead facts to plausibly show: (1) a legal duty owed by the defendant to

protect the plaintiff from an unreasonable risk of harm; (2) a breach of that duty by the

defendant; (3) injury to the plaintiff legally caused by the defendant's breach; and (4)

damages as a result of that injury. See Jackson Hewitt, Inc. v. Kaman, 100 So.3d 19, 27-

28 (Fla. 2d DCA 2011) (citing Clay Elec. Coop., Inc. v. Johnson, 873 So.2d 1182, 1185

(Fla. 2003)).

                (1)   DUTY TO CONTROL CONDUCT OF THIRD PERSONS

      Under Florida common law, a person has no duty to control the conduct of

another. Twiss v. Kury, 25 F.3d 1551, 1555 (11th Cir. 1994) (applying Florida law); Doe

v. Faerber, 446 F.Supp.2d 1311, 1319–1320 (M.D. Fla. 2006) (applying Florida law).

Nor does a person have a duty to warn those placed in danger by such conduct, unless a

special relationship exists between the defendant and either the persons whose behavior

needs to be controlled, or the foreseeable victim of such conduct. Twiss, 25 F.3d 1551,

1555 (applying Florida law). Thus, Florida recognizes the special relationship exception

to the general rule of nonliability for third-party misconduct, where the existence of a

special relationship gives rise to a duty to control the conduct of third persons so as to

prevent them from harming others. T.W. v. Regal Trace, Ltd., 908 So.2d 499, 503 (Fla.

4th DCA 2005); K.M. ex rel. D.M. v. Publix Super Markets, Inc., 895 So.2d 1114, 1117

(Fla. 4th DCA 2005). The special relationship must include the right or the ability to

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control another's conduct. Lott v. Goodkind, 867 So.2d 407, 408 (Fla. 3d DCA 2003)

(citing Restatement Second, Torts § 319). No such special relationship has been alleged,

as one did not exist.

             (2)    PROXIMATE CAUSATION

      The issue of proximate causation concerns "whether and to what extent the

defendant's conduct foreseeably and substantially caused the specific injury that actually

occurred." McCain v. Florida Power Corp., 593 So.2d 500, 502 (Fla. 1992). The Florida

Supreme Court has stated that "harm is 'proximate' in a legal sense if prudent human

foresight would lead one to expect that similar harm is likely to be substantially caused

by the specific act or omission in question." McCain, 593 So.2d at 503. "A remote

condition or conduct which furnishes only the occasion for someone else's supervening

negligence is not a proximate cause of the result of the subsequent negligence."

Whitehead v. Linkous, 404 So.2d 377, 379 (Fla. 1st DCA 1981). As was recognized by

the Florida Supreme Court:

      On the issue of the fact of causation, as on other issues essential to his cause of
      action for negligence, the plaintiff, in general, has the burden of proof. He must
      introduce evidence which affords a reasonable basis for the conclusion that it is
      more likely than not that the conduct of the defendant was a substantial factor
      in bringing about the result. A mere possibility of such causation is not enough;
      and when the matter remains one of pure speculation or conjecture, or the
      probabilities are at best evenly balanced, it becomes the duty of the court to
      direct a verdict for the defendant.

Gooding v. Univ. Hosp. Bldg., Inc., 445 So.2d 1015, 1018 (Fla. 1984) (quoting Prosser,

Law of Torts § 41 (4th Ed.1971)).



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      Certainly being served with process by a company other than Defendant CVS does

not—and cannot—make Defendant CVS's operation of a pharmacy department the

proximate cause of any issues Plaintiffs allege. This is a res ipsa loquitor moment –

there is no legal basis for claiming CVS is the proximate cause of any injury.

             (3)    VICARIOUS LIABILITY

      Vicarious liability is an exception to the normal principle of individualized fault

which allows a plaintiff to seek redress from another who is not the party primarily

responsible for the alleged wrong. 38 Fla. Jur 2d Negligence § 98. The vicariously liable

party has not breached any duty to the plaintiff but is instead legally imputed liability for

another party's tortious acts. American Home Assur. Co. v. National Railroad Passenger

Corp., 908 So.2d 459, 467 (Fla. 2005); Dabasse v. Reyes, 963 So.2d 288, 291 (Fla. 2d

DCA 2007). In the State of Florida, "an employer is vicariously liable for an employee's

tortious conduct where the conduct occurs within the scope of the employment." Fields

v. Devereux Found., Inc., 244 So.3d 1193, 1196 (Fla. 2d DCA 2018) (citing Garcia v.

Duffy, 492 So.2d 435, 438 (Fla. 2d DCA 1986)). An employee's conduct is deemed to

be "within the scope of [the] employment" if it occurs substantially within the time and

space limits authorized by the employment and is at least partially activated by a purpose

to serve the employer. See Hennagan v. Dep't of Highway Safety & Motor Vehicles, 467

So.2d 748, 751 (Fla. 1st DCA 1985).




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      As outlined below, Plaintiffs have not and cannot establish vicarious liability,

even if—which CVS denies—employing a process server as an employee of CVS were

somehow an element of any cause of action.

             (4)    IMPACT RULE

      The "impact rule" requires that before a plaintiff can recover damages for

emotional distress caused by the negligence of another, the emotional distress suffered

must flow from physical injuries the plaintiff sustained in an impact from an external

source. Pipino v. Delta Air Lines, Inc., 196 F.Supp.3d 1306, 1316–1317 (S.D. Fla. 2016)

(applying Florida law). In the absence of an impact from an external source, a plaintiff

can still satisfy the impact rule by demonstrating that (1) the claim arises from a situation

in which the "impact" requirement is relaxed and (2) that the plaintiff manifested some

physical injury or illness as a result of the emotional trauma. Id. This extension of the

impact rule has been found to apply in situations where the plaintiff suffered "death or

significant discernible physical injury, when caused by psychological trauma resulting

from a negligent injury imposed upon a close family member within the sensory

perception of the physically injured person." Id., at 1317 (quoting Champion v. Gray,

478 So.2d 17, 18 (Fla. 1985), receded from in part on other grounds, Zell v. Meek, 665

So.2d 1048, 1053–54 (Fla. 1995).

      The "impact rule" essentially provides that, in an action for simple negligence,

there can be no recovery for mental or emotional pain and suffering unconnected with

physical injury. Thomas v. Hospital Bd. of Directors of Lee County, 41 So.3d 246, 253

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(Fla. 2d DCA 2010); Faurote v. United States, 8:17-CV-2317-T-36CPT, 2018 WL

3417113, at *3 (M.D. Fla. July 13, 2018). Thus, a party is not entitled to damages on a

claim where the party fails to show an impact or physical injury. Miami-Dade County v.

Cardoso, 922 So.2d 301, 302 (Fla. 3d DCA 2006). The underlying basis for the "impact

rule" is that allowing recovery for injuries resulting from purely emotional distress would

risk burdening the court system with a flurry of fictitious or speculative claims. See

Woodard v. Jupiter Christian School, Inc., 913 So.2d 1188, 1190 (Fla. 4th DCA 2005)

(citing R.J. v. Humana of Florida, Inc., 652 So.2d 360, 362 (Fla. 1995)). As outlined

below, the impact rule bars Plaintiffs' recovery even if none of the previously discussed

independent grounds supporting this Motion for Judgment on the Pleadings were

present.

IV.   DISCUSSION

      A.     The Complaint Fails to State a Claim for Negligence Against CVS

      The Complaint alleges without factual predicate that CVS was negligent, but the

allegations in the Complaint demonstrate that Plaintiffs cannot establish any claim of

negligence against CVS, as discussed below.

             (1)    CVS is Under No Duty to Control Third Persons.

      The Complaint alleges that CVS "was grossly negligent" by virtue of the conduct

of Mr. Kes—namely, following and stalking Plaintiffs—on the evening of May 26, 2022.

See Complaint, ¶ III. Attached to the Complaint is an excerpted transcript from this

Court's status conference held on May 30, 2023. Certain lines from this transcript appear

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to have been underlined by Plaintiffs, such as where counsel for CVS reports that Mr.

Kes "part time works at the process service company; full time is a pharmaceutical tech

at CVS". See Complaint, Ex. A, 11:23–34. This transcript also reflects agreement that

"the pharmacist occasionally serves process" but that he "did not try to serve the plaintiffs

here". See Complaint, Ex. A, 12:15–21. Indeed, the Complaint indicates that the subject

incident was related to Mr. Kes' receipt of an "Order of Process." See Complaint, ¶ III.

      The incident, as alleged, together with the excerpted transcript, makes clear that

the conduct at issue was entirely that of Mr. Kes, who is a non-party. Under Florida

common law, CVS would have no duty to control Mr. Kes' conduct. Twiss, 25 F.3d at

1555. CVS would also have no duty to warn the Plaintiffs of any danger posed by Mr.

Kes' conduct absent a special relationship—which necessarily would include the right or

ability to control another's conduct, Lott v. Goodkind, 867 So.2d at 408—between CVS

and either Mr. Kes or the Plaintiffs, neither of which exists on the facts alleged.

Accordingly, CVS was under no duty of care vis-à-vis the incident and individuals

described in the Complaint. Twiss, 25 F.3d at 1555; Doe, 446 F.Supp.2d at 1319–1320.

Therefore, Plaintiffs fail to state a claim in negligence upon which relief may be granted.

             (2)    The Allegations in the Complaint Demonstrate that Plaintiffs
                    Cannot Establish Proximate Causation.

      For similar reasons as described above, Plaintiffs cannot establish a causal

relationship between the harms they allegedly suffered and any act or omission of CVS.

A tort plaintiff must introduce evidence which affords a reasonable basis for the


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conclusion that it is more likely than not that the defendant's conduct was a substantial

factor in bringing about the result; a mere possibility of such causation is not enough.

Gooding, 445 So.2d at 1018. Far from this, Plaintiffs here do not even suggest that CVS

had any role in the offending conduct of Mr. Kes. Instead, Plaintiffs allege that they

suffered trauma "after being followed and stalked" by Mr. Kes." See Complaint, ¶ III

(emphasis added). This phrasing neither alleges causation nor implicates CVS at all.

      Viewing the Complaint's allegations in the light most favorable to the non-moving

party, Bryant, 187 F.3d at 1273, this Court might entertain an argument that Mr. Kes'

employment with CVS afforded him certain access to records and information pertaining

to the Plaintiffs, which Mr. Kes conceivably could have used to his advantage in

performing his side job as a part-time process server. However, even this would be

insufficient for purposes of showing proximate causation. See Whitehead, 404 So.2d at

379 (holding that a remote condition or conduct which furnishes only the occasion for

someone else's supervening negligence is not a proximate cause of the result of the

subsequent negligence). The Complaint fails to state a claim upon which relief may be

granted because it does not even allege facts which might support a finding of proximate

causation, which finding is essential to the Plaintiffs' case.

             (3)    CVS Cannot be Held Vicariously Liable Because Mr. Kes Was
                    Not Acting Within the Scope of His CVS Employment.

      Even if Plaintiffs were able to establish that Mr. Kes had acted negligently and

caused compensable damages to them, this would not operate to assign liability to CVS


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because Mr. Kes was not acting in the scope of his employment with CVS when the

alleged incident occurred. See Fields, 244 So.3d at 1196 (requiring that negligent

conduct occur within scope of employment in order to support vicarious liability of

employer). Indeed, an employee's conduct is deemed to be "within the scope of [his]

employment" if it occurs substantially within authorized time and space limits and is

activated at least in part by a purpose to serve the employer. Hennagan, 467 So.2d at

751. Here, however, Plaintiffs specify that the alleged misconduct of Mr. Kes occurred

at or near the time that Mr. Kes "accepted an Order of Process." See Complaint, ¶ III.

The Complaint goes on to allege that Mr. Kes "followed and stalked" the Plaintiffs "at

night". Id. This makes clear that the alleged misconduct occurred while Mr. Kes was

working "part time. . . at the process service company" instead of while he was

performing his full-time job as "a pharmaceutical tech at CVS". See Complaint, Ex. A,

11:23–34. These facts, which Plaintiffs concede, completely extinguish any basis upon

which CVS might be held vicariously liable for Mr. Kes' conduct.

             (4)    The Allegations in the Complaint Demonstrate that Plaintiffs'
                    Recovery is Barred by the Impact Rule.

      Finally, all of Plaintiffs' alleged damages are barred by the Impact Rule. The

Impact Rule provides that, in an action for simple1 negligence, there can be no recovery



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  Plaintiffs' naked declaration that CVS was "grossly negligent" does not remove the
claim from this analysis. While the Court should accept as true all well-pleaded facts,
it should disregard "legal conclusions" such as this one, as these do not create issues of
material fact. See Oriental Republic of Uru., 606 F. Supp. 3d at 1260.

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for mental or emotional pain and suffering unconnected with physical injury. Thomas,

41 So.3d at 253 (emphasis added); Faurote, 8:17-CV-2317-T-36CPT, 2018 WL

3417113, at *3.

      Here, Plaintiffs allege damages flowing only from mental distress or emotional

pain and suffering. See Complaint, ¶ III (alleging traumatic psychological trauma,

sleepless nights, excess fear, and flashbacks). Indeed, the specific conduct which they

allege caused these symptoms is being "followed and stalked" by Mr. Kes. See id. By

their plain definitions, neither "following" nor "stalking" entails any physical impact. See

STALKING, Black's Law Dictionary (11th ed. 2019) (defining same as "following

another" or "following or loitering near another"). This, moreover, is supported by

Plaintiffs' failure to allege in their Complaint that any physical contact involving Mr. Kes

occurred. The Impact Rule unambiguously precludes Plaintiffs from obtaining any

recovery against CVS on the facts alleged.

V.    CONCLUSION

      In light of the foregoing, upon the pleadings, CVS is entitled to judgment as a

matter of law under Rule 12(c). As set forth above, the Complaint fails to state a claim

upon which relief can be granted under Rule 12(b)(6) for four independent reasons: (I)

the Complaint seeks to hold CVS liable in negligence for the conduct of a third party

over whom CVS bears no legal responsibility; (II) the issue of proximate causation,

which is central to Plaintiffs' sole claim, cannot be established based on the facts as

alleged; (III) any attempt to hold CVS vicariously liable fails because the Complaint

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admits that Mr. Kes was acting entirely outside the scope of his employment with CVS

when the alleged misconduct occurred; and (IV) the Impact Rule bars any recovery of

damages for emotional distress where—as here—these emotional injuries and damages

are unconnected to any physical impact.

      WHEREFORE, Defendant, CVS Pharmacy, Inc., respectfully requests that this

Court enter judgment on the pleadings in its favor, that Plaintiffs take nothing, and that

this matter be dismissed with prejudice.

 Dated: July 7, 2023           Respectfully submitted,

                               AKERMAN LLP

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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on July 7, 2023, a true and correct copy of the
foregoing was electronically filed using the CM/ECF electronic filing system which
will automatically serve a copy on all registered CM/ECF users; and by E-mail and
U.S. mail on plaintiff (non-registered CM/ECF user):

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